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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- x
BADARA OUATTARA,
                                                                            Civil Action No.:
                                   Plaintiff,

                 v.                                                         NOTICE OF REMOVAL


AMAZON.COM, INC. and AMAZON.COM SERVICES,
LLC

                                    Defendants-Petitioners.
----------------------------------------------------------------------- X

        TO:      THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK

        Defendants AMAZON.COM, INC. and AMAZON.COM SERVICES LLC file this

Notice of Removal of this civil action from the Supreme Court of the State of New York, Bronx

County, to the United States District Court for the Southern District of New York, pursuant to 28

U.S.C. §§ 1332, 1441 and 1446. The basis for removal is more particularly stated as follows:

        1.       On October 6, 2021, plaintiff, Badara Ouattara, filed a summons and complaint in

the Supreme Court of the State of New York, Bronx County against defendants Amazon.com,

Inc. and Amazon.com Services, LLC. The action is entitled Badara Ouattara v. Amazon.com,

Inc. and Amazon.com Services, LLC, and bears Index No. 813543/2021E. As the action is

venued in the Supreme Court of the State of New York, Bronx County, removal to the United

States District Court for the Southern District of New York is proper.

        2.       This civil action arises from a motor vehicle accident that occurred on December

7, 2019. Plaintiff alleges he sustained severe and serious personal injuries when a motor vehicle

bearing Ohio license plate TH912 operated by Otabek Tillyaev came into contact with plaintiff’s

vehicle on the Cross Bronx Expressway near the Jerome Avenue exit in Bronx County, New



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York. Plaintiff alleges, inter alia, that the negligence of defendants caused the subject accident.

Plaintiff seeks to recover damages for personal injuries allegedly caused by defendants’

negligence and demands over $75,000 in lost wages alone with respect to damages. Accordingly,

the amount in controversy in this suit is in excess, exclusive of interest and costs, of $75,000. See

28 U.S.C. § 1332 (a).

        3.     Defendants Amazon.com, Inc. and Amazon.com Services, LLC were served with

copies of the summons and complaint on October 29, 2021. Copies of the summons, complaint

and affidavit of service are annexed hereto as Exhibit “A.” Said documents did not contain the

total amount of damages sought. See Exhibit A.

        4.     Thereafter, on January 25, 2022, Amazon.com, Inc. and Amazon.com Services

LLC (collectively, “Amazon”) joined issue by service of an answer, along with a Demand for a

Verified Bill of Particulars and various Combined Demands, including a request for

supplemental demand pursuant to CPLR 3017(c) setting forth the total damages to which

plaintiff deemed he is entitled. Amazon’s answer and demands are annexed hereto as Exhibit

“B.”

        5.     Plaintiff served a Verified Bill of Particulars, dated January 26, 2022, which was

received by Amazon on January 31, 2022, a copy of which is annexed hereto as Exhibit “C.” In

the bill of particulars, plaintiff claims loss of earnings in the amount of $87,000. See Exhibit C,

¶ 15. As plaintiff’s bill of particulars, dated January 26, 2022, was received via the mail by

Amazon on January 31, 2022, and qualifies as an “other paper” from which it may be first

ascertained that the case has become removable, this notice of removal is timely filed pursuant to

28 U.S.C. §§ 1446 (b)(3) and 1446 (c)(3)(A).




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        6.     This action is one which the United States District Court has original jurisdiction

pursuant to 28 U.S.C. §§ 1332 and 1441. There is complete diversity of citizenship between the

plaintiff and Amazon.com, Inc. and Amazon.com Services, LLC.

        7.     Plaintiff, Badara Ouattara, is a citizen and resident of the State of New York. See

Exhibits A and B. For purposes of removal, therefore it must be presumed that plaintiff is now,

and was at the time of commencement of this action, a citizen of New York. See Van Buskirk v.

United Grp. of Cos., 935 F.3d 49, 53 (2d Cir. 2019) (“An individual’s citizenship, within the

meaning of the diversity statute, is determined by his domicile”).

        8.     Defendant Amazon.com, Inc., is now, and was at the time of commencement of

this action, a Delaware corporation and citizen of the State of Delaware and the State of

Washington, by virtue of having its principal place of business located at 410 Terry Avenue

North, Seattle, Washington, 98109. See Hertz Corp v Friend, 559 U.S. 77, 80, 130 S. Ct. 1181,

1183 (2010) (holding a corporation’s principal place of business is where the corporation’s high

level officers direct, control, and coordinate the corporation’s activities).

        9.     Defendant Amazon.com Services LLC, is now, and was at the time of the

commencement of this action, a Delaware limited liability company and a citizen of the State of

Delaware and the State of Washington, by virtue of its members being residents of the State of

Washington and the State of Delaware. The members of Amazon.com Services LLC are Michael

D. Deal and Amazon.com Sales Inc. Michael D. Deal, Vice President and Associate General

Counsel of Amazon.com Inc., is a citizen and resident of the State of Washington. Amazon.com

Sales Inc. is a Delaware corporation with its principal place of business located at 410 Terry

Avenue North, Seattle, Washington, 98109. See Carden v. Arkomo Assocs., 494 U.S. 185, 195-




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196 (1990) (holding that diversity jurisdiction in a suit by or against an artificial entity or

unincorporated association depends on the citizenship of each of its members).

        10.    Therefore, as plaintiff was a resident and domiciliary of the State of New York at

the time this action was filed and the Amazon defendants were both citizens of the States of

Delaware and Washington, complete diversity exists. Additionally, as plaintiff seeks damages for

personal injuries in excess of the $75,000 jurisdictional amount, removal is proper. See Michael

J. Redenburg, Esq. PC v. Midvale Indem. Co., 515 F. Supp. 3d 95, 102 (S.D.N.Y. 2021) (holding

that the Court had subject-matter jurisdiction because there was complete diversity and the

amount in controversy exceeded the jurisdictional amount); Kings Choice Neckwear, Inc. v. DHL

Airways, Inc., 2003 US Dist LEXIS 17507 [S.D.N.Y. Oct. 1, 2003] (holding an action based on

state law is removable to federal court when the district court would have original jurisdiction

because the amount in controversy exceeds $75,000 and, inter alia, there is complete diversity of

citizenship between plaintiff and defendants, 28 U.S.C. § 1332, provided that none of the parties

properly joined and served at the time of removal are residents of the forum state, 28 U.S.C. §

1441 (b)).

        11.    It should also be noted that plaintiff has a separate related action seeking damages

for the injuries he sustained in the subject accident pending in the Supreme Court of the State of

New York, County of Bronx, entitled Badara Ouattara v Otabek Tillyaev and UZ Freight Inc.

under Index No. 31988/2020E, a copy of said summons and complaint is annexed hereto as

Exhibit “D.” That action is one which the United States District Court also has original

jurisdiction pursuant to 28 U.S.C. §§ 1332 and 1441, as there is complete diversity of citizenship

between the plaintiff and Otabek Tillyaev and UZ Freight Inc.




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        12.    Pursuant to the police accident report for the subject accident and the summons in

the other action, defendant Otabek Tillyaev is a resident and citizen of the State of Ohio, who

resides at 12137 Midpines Drive, Cincinnati, Ohio 45241. See Exhibit D, Summons and Exhibit

“E,” a copy of the Police Accident Report for the subject accident. As such, for removal

purposes, defendant Otabek Tillyaev is a resident of Ohio.

        13.    Defendant UZ Freight, Inc., is now, and was at the time of commencement of this

action, an Ohio corporation and citizen of the State of Ohio, by virtue of having its principal

place of business located in Cincinnati, Ohio. See Hertz Corp v Friend, 559 U.S. 77, 77 130 S.

Ct. 1181, 1183 (2010) (holding a corporation’s principal place of business is where the

corporation’s high level officers direct, control, and coordinate the corporation’s activities). A

copy of the State of Ohio Certificate is annexed hereto as Exhibit “F.”

        14.    Therefore, as plaintiff was a resident and domiciliary of the State of New York at

the time this action was filed, defendant UZ Freight, Inc. is a resident of Ohio, and defendant

Tilyaev is also a resident of Ohio, complete diversity exists in the related action, which we intend

to seek to consolidate with this action in Federal Court. Defendants UZ Freight Inc. and Tilyaev

consent to removal of the related action to Federal Court for the purpose of consolidation with

this action. Attached hereto as Exhibit “G” is a copy of the email consenting to same.

        15.    Written notice of the filing of this Notice of Removal will be given to plaintiff

and adverse parties promptly after the filing of this Notice of Removal, as required by 28 U.S.C.

§ 1146 (d).

        16.    A true and correct copy of this Notice of Removal will be filed with the Clerk of

the Supreme Court of the State of New York, Bronx County, promptly after the filing of this

Notice of Removal with the United States District Court, as required by law.




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        17.    Attached to this Notice of Removal, and by reference made a part hereof, are true

and correct copies of all process, pleadings, and orders filed in the above-captioned action as

required by 28 U.S.C. § 1446(a).

        18.    By filing this Notice of Removal, Amazon does not waive any defense which may

be available to them, specifically including, but not limited to, their right to contest in personam

jurisdiction over them, improper service of process upon them, and the absence of a basis for

venue in this Court or in the court from which the action has been removed.

        WHEREFORE, defendants, Amazon.com, Inc. and Amazon.com Services LLC pray

that this action proceed in this Court as an action properly removed thereto.


Dated: White Plains, New York
       March 2, 2022

                                              Yours, etc.

                       WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP



                                      By:
                                                John A. Hsu, Esq.
                                                Attorneys for Defendants
                                                AMAZON.COM, INC. and AMAZON.COM
                                                SERVICES LLC
                                                1133 Westchester Avenue
                                                White Plains, NY 10604
                                                (914) 323-7000
                                                File No. 22080.00999

TO:     BUDIN, REISMAN, KUPFERBERG & BERNSTEIN, LLP
        112 Madison Avenue
        New York, NY 10016
        (212) 696-5500
        File No. MM11469




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EXHIBIT “A”
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
                                                                                 Index No.:
          BADARA OUATTARA,
                                                                                 Plaintiff designates Bronx
                                         Plaintiff,                              County as the place of trial.

                         -against-                                                   SUMMONS

          AMAZON.COM, INC., AND AMAZON.COM SERVICES,                             The basis of venue is:
          LLC,                                                                   Plaintiff s residence

                                                                                     Plaintiff resides at:
                                         Defendants.                                 845 Longfellow Avenue
                                                                        X            County of Bronx
         To the above named Defendants

               You are hereby summoned to answer the complaint in this action, and to serve a
         copy of your answer, or, if the complaint is not served with this sumnons, to serve a notice of
         appearance on the  plaintiffs attorneys within (20) twenty days after the service of this sunmons
         exclusive of the day of service, where service is made by delivery upon you personally within the
         state, or within (30) thirty days after completion of service where service is made in any other
         manner. In case of your failure to appear or answer, judgment will be taken against you by default
         for the relief demanded in the complaint.

         Dated: New York, New York
                October 5,2021

                                                 ADAM              TEIN,
                                                 BUDIN, REISMAN,                                 & BERNSTEIN, LLP
                                                 Attomeys for Plaintiff
                                                 Office & P.O
                                                 112 Madison
                                                 NewYork,NY           10016
                                                 (2r2) 696-ss00
                                                 Our File # MMl1469
         Defendants' Addresses

         AMAZON.COM, INC., C/O Corporation Service Company 300 Deschutes Way SW - Suite 304
         Tumwater, WA 98501

         AMAZON. COM SERVICES, LLC            2l2l    7   th Avenue Seattle, WA 98   1   2   1




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF BRONX
                                                                     x
          BADARA OUATTARA,
                                                                               VERIFIED COMPLAINT
                                                                               Index #
                                          Plaintiff,

                          -against-


          AMAZON.COM, INC., AND AMAZON.COM SERVICES,
          LLC,


                                          Defendants.




                 Plaintiff, by his attorneys BUDIN, REISMAN, KUPFERBERG & BERNSTEIN, LLP,                        as


         and for a cause of action alleges upon information and belief as follows:

                 1.      That this action is brought pursuant to the provisions of the New York State

         Comprehensive Motor Vehicle lnsurance Reparations Act and plaintiffhas complied with all of the

         conditions thereof.

                 2.      That ptaintiff sustained serious injuries as defined in $5102(d) of the lnsurance Law

         of the State of New York.

                 3.      That by reason of the foregoing, plaintiff is entitled to recover for non-economic

         losses as are not included within the definition   of "basic economic loss"   as set forth   in $5102(a) of

         the lnsurance Law of the State   ofNew York.

                 4.      That plaintiff is a "covered person" as defined in $5102(i) of the Insurance Law of

         the State ofNew York.



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                 5.     That this action falls within one or more of the exceptions as set forth in CPLR

        $1602.

                 6.     Upon information and belief, that at all of the times and places hereinafter

        mentioned, defendant, AMAZON.COM, INC., was a domestic corporation.

                 7.     Upon information and belief, that at all of the times and places hereinafter

        mentioned, defendant, AMAZON.COM, INC., was a foreign corporation.

                 8.     Upon information and belief, that at all of the times and places hereinafter

        mentioned, defendant, AMAZON.COM, INC., did business in the State of New York.

                 9.     Upon information and belief, that at all of the times and places hereinafter

        mentioned, defendant, AMAZON.COM SERVICES,LLC, was a domestic corporation.

                 10.    Upon information and belief, that at all of the times and places hereinafter

        mentioned, defendant, AMAZON.COM SERVICES,LLC, was a foreign corporation.

                 11.    Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM SERVICES ,LLC, did business in the State of New York.

                 12.    Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM,          INC., was the owner of a certain motor vehicle bearing

         State of Ohio license plate No.   TH9l2.

                 13.    Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM SERVICES, LLC, was the owner                 of a certain   motor

         vehicle bearing State of Ohio license plate No. TH9l2.

                 14.    Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant AMAZON.COM, INC., AND AMAZON.COM SERVICES,LLC, were the

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         owners of the motor vehicle involved in the accident that occurred on December 7,2019 involving

         OTABEK TILLYAEV AND UZ FREIGHT INC., which were sued in Action No. 1 under lndex

         number 3198812020.

                    15.   Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM, INC., was the lessee of the aforesaid motor vehicle.

                    16.   Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM SERVICES , LLC, was the lessee of the aforesaid motor

         vehicle.

                    17.   Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM,INC., was the lessor of the aforesaid motor vehicle.

                    18.   Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM SERVICES , LLC, was the lessor of the aforesaid motor

         vehicle.

                    19.   Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM, NC., was the registrant of the aforesaid motor vehicle.

                    20.   Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM SERVICES,LLC, was the registrant of the aforesaid motor

         vehicle.

                    21.   Upon information and beliel that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM, INC., was the titleholder of the aforesaid motor vehicle.




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                22.       Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM SERVICES, LLC, was the titleholder of the aforesaid

         motor vehicle.

                23.       Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM, NC., controlled the aforesaid motor vehicle.

                24.       Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM SERVICES,LLC, controlled the aforesaid motor vehicle.

                 25.      Upon information and belief that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM, INC., maintained the aforesaid motor vehicle.

                 26.      Upon information and belief that at all of the times and places hereinafter

         mentioned, defendant, AMAZON.COM SERVICES ,LLC, maintained the aforesaid motor vehicle.

                27.       Upon information and belief that at all of the times and places hereinafter

         mentioned, defendant AMAZON.COM, INC., contracted with UZ FREIGHT INC., to perform

         delivery services on its behalf and in furtherance of its business, said services inuring to the benefit

         of defendant AMAZON.COM, NC.

                 28.      Upon information and belief that at all of the times and places hereinafter

         mentioned, defendant AMAZON.COM SERVICES,LLC contracted with UZ FREIGHT INC., to

         perform delivery services on its behalf and in furtherance of its business, said services inuring to the

         benefit of defendant AMAZON.COM SERVICES, LLC.

                 29.      Upon information and belief that at all of the times and places hereinafter

         mentioned, defendant AMAZON.COM, NC., contracted with OTABEK TILLYAEV to perform




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         delivery services on its behalf and in furtherance of its business, said services inuring to the benefit

         of defendant AMAZON.COM, INC.

                 30.     Upon information and belief that at all of the times and places hereinafter

         mentioned, defendant AMAZON.COM SERVICES , LLC contracted with OTABEK TILLYAEV

         to perform delivery services on its behalf and in furtherance of its business, said services inuring to

         the benefit of defendant AMAZON.COM SERVICES, LLC.

                 31.     Upon information and belief that at all of the times and places hereinafter

         mentioned, that on December 7,2019, OTABEK TILLYAEV was employed by and/or acting on

         behalf of the defendant AMAZON.COM,INC.

                 32.     Upon information and belief that at all of the times and places hereinafter

         mentioned, that on December 7, 2019, OTABEK TILLYAEV was employed by and/or acting on

         behalf of the defendant AMAZON.COM SERVICES,LLC.

                 33.     Upon information and belief, that at all of the times and places hereinafter

         mentioned, that on December 7,2}L9,OTABEK TILLYAEV was operating the aforesaid motor

         vehicle while in the course of his employment with defendant AMAZON.COM, INC.

                 34.     Upon information and belief, that at all of the times and places hereinafter

         mentioned, that on December 7,2}L9,OTABEK TILLYAEV was operating the aforesaid motor

         vehicle while in the course of his employment with defendant AMAZON.COM SERVICES, LLC.

                 35.      Upon information and belief, that at all of the times and places hereinafter

         mentioned, OTABEK TILLYAEV was operating the aforesaid motor vehicle with the knowledge,

         permission and consent of the owner thereof.




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                    36.   Upon information and belief that at all of the times and places hereinafter

         mentioned, the aforesaid motor vehicle was being operated upon the business of the owner thereof.

                    37.   Upon information and belief, that at all of the times and places hereinafter

         mentioned, the aforesaid motor vehicle was being operated upon the business of the operator

         thereof.

                    38.   Upon information and belief, that at all of the times and places hereinafter

         mentioned, the operator of the aforesaid motor vehicle was in the employ of the owner thereof.

                    39.   That at all of the times and places hereinafter mentioned, Cross Bronx Expressway

         and Jerome Avenue, Bronx, New York, in the County of Bronx and State           ofNew york, were public

         roadways and thoroughfares.

                    40.   That at all of the times and places hereinafter mentioned, plaintiff was operating a

         certain motor vehicle bearing State of New York plate number T663057C.

                    41.   That on or about December 7,2019, on the Cross Bronx Expressway near the

         Jerome Avenue exit, Bronx, New York, in the County of Bronx, and State of New York, there was

         contact between the defendants' motor vehicle and plaintifPs motor vehicle.

                    42.   That the said accident and the injuries and damages to the plaintiff resulting

         therefrom were caused solely and wholly by reason of the negligence, carelessness and recklessness

         of the defendants in the ownership, operation and control of their motor vehicle, in that they failed

         to have and keep the same under reasonable and proper control; in that caused, allowed                  and


         permitted motor vehicle to run into and violently collide with the rear of plaintiffs motor vehicle; in

         that they faited to bring their motor vehicle under control in time to avoid the collision; in that they

         failed to have their attention before them; in that they failed to look; in that they failed to see; in that

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         they operated and controlled their motor vehicle at a fast and excessive rate of speed under the

         circumstances and conditions then and there prevailing; in that they failed to provide and./or make

         prompt and timely use of adequate and efficient brakes and steering mechanisms; in failing to apply

         the brakes of their motor vehicle or to take other proper and appropriate evasive action in time to

         avoid running into and violently colliding with the plaintiffs motor vehicle;         in   operating the

         aforesaid motor vehicle   in an unreasonable and imprudent       manner;   in that they    operated and

         controlled their motor vehicle in reckless disregard for the safety of others, and the plaintiff in

         particular; in that they violated the statutes, ordinances, rules and regulations in the cases made and

         provided; in that they were inattentive to their duties wherein had they been attentive to their duties

         the accident and ensuing injuries could have and would have been avoided; in that they failed to act

         as a reasonable and prudent person could have and would have under the circumstances and

         conditions then and there prevailing;     in that they controlled the means, the methods and the

         performance of their deliveries with strict standards that negatively impacted the safety of those

         utilizing the roads; in that they operated and controlled their motor vehicle in such a willful, wanton

         and grossly culpable manner as to be liable for damages and punitive damages; in that they acted in

         reckless disregard for the safety of others, and the plaintiff in particular; and in that they failed to

         take all necessary and proper means and precautions to avoid the said accident.

                 43.     That as a result of the negligence of the defendants, plaintiff sustained injuries to

         various parts of his head, body, limbs and nervous system and, upon information and belief, some of

         his said injuries are of a permanent and/or protracted nature; that by reason thereof, he was confined

         to hospital, bed and home and prevented from attending to his usual duties and daily activities; and




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         he was required and    will be required to obtain medical aid and attention in an effort to cure and

         alleviate his said injuries, and incurred obligations therefor.

                 WHEREFORE, plaintiff demands judgment against the defendants               in an amount    that

         exceeds the jurisdictional limits of all of the lower Courts, together with interest, and the costs and

         disbursements of this action.

         Dated      New York, New York
                    October 5,2021
                                                  Y



                                                  BUDIN, REISMAN,                     G   & BERNSTEIN, LLP
                                                  Attomeys for
                                                  Office and P
                                                  t12                  Floor
                                                                           2nd
                                                  New York, New York 10016-7416
                                                  (2t2) 696-ss00
                                                  Our File # MMl1469;




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                                                      VERIFICATION


                    The undersigned, being an attomey duly admitted to practice in the Courts of the State       of

         New York, affirms under the penalties of perjury:

                    That I am one of the attomeys for the plaintiff in the within action; that I have read and

         know the contents of the foregoing complaint, and that the same is true to my own knowledge,

         except as to the matters therein stated to be alleged upon information and   beliel   and that as to those


         matters I believe it to be true.


                    This verification is made by affirmation and not by plaintiff herein because the plaintiff is

         not presently within the county wherein affirmant maintains an office

                     This verification is based on information fumished by plaintiff in this action and

         information contained in affirmant's file.



         Dated:      New York, New York
                     October 5,2021




                                                                 ADAM     S.
                                                                               try,"6lq




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                                                                                   RECEIVED  NYSCEF: 11/08/2021
 BRONX COUNTY                                                                            Y
                                BADARA OUATTARA                                          JOB #: 38907
                                                                                         ClLIENT FILE #::MM11469
                                                                                         INDEX #: 813543/2021E
                                                                                         DATE FILED: 10/6/2021
                                                                                         COURT DATE::
                                                                             Plaintiff   JUDGE:
                                   vs
                             AMAZON.COM, INC., ET ANO                                    BUDIN, REISMAN, KUPFERBERG & BERNSTEIN LL
                                                                                         112 MADISON AVE, 2FL
                                                                                         NEW YORK, NY 10016
                                                                           Defendant


                                         AFFIDAVIT OF SERVICE BY THE NEW YORK SECRETARY OF STATE

 STATE OF NEW YORK, COUNTY OF SARATOGA                   SS:

 I, Harold Johnson, being duly sworn deposes and says deponent is over the age of twenty-one (21) years;
 deponent is not a party to this action and resides in the State of New York.

 That on 10/29/2021 at 11:10 AM at the office of the Secretary of State of the State of New York, at 99 Washington
 Avenue, Albany, NY 12231, deponent served the annexed:

                         SUMMONS & VERIFIED COMPLAINT/INDEX# & DATE FILED, on

                           AMAZON.COM, INC. sued herein as AMAZON.COM.CA, INC.

 Defendant in this action, by personally delivering to and leaving with AMY LESCH, Agent for Service of Process in
 the Office of the Secretary of State of the State of New York, two (2) true copies thereof and that at the time of
 making such service, deponent paid said Secretary of State a fee of $40.00 dollars; that said service was made
 pursuant to:
 Section 306 FOREIGN BUSINESS CORPORATION LAW.

 Deponent further says that deponent knew the person so served as aforesaid to be the agent in the Office of the
 Secretary of State of the State of New York, duly authorized to accept such service on behalf of said Defendant.

 A description of the person served on behalf of the Defendant is as follows:
 Approx Age: 36 - 50 Yrs., Approx Weight: 161-200 Lbs., Approx Height: 5' 9" - 6' 0", Sex: Female, Skin: White, Hair:
 Brown Other:




 Sworn to before me on 11/3/2021
 Christina M. Altieri                                                                    ______________________________
 Notary Public, State of New York
                                                                                                Harold Johnson
 No.: 01AL6023113, Qualified in Saratoga County
 Commission Expires April 12, 2023
                         Triple A Process Service: PO Box 2307, Seaford, NY 11783: (516) 826-9600




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NYSCEF    COURT
       DOC.      Case
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 BRONX COUNTY                                                                            Y
                                BADARA OUATTARA                                          JOB #: 38908
                                                                                         ClLIENT FILE #::MM11469
                                                                                         INDEX #: 813543/2021E
                                                                                         DATE FILED: 10/6/2021
                                                                                         COURT DATE::
                                                                             Plaintiff   JUDGE:
                                   vs
                             AMAZON.COM, INC., ET ANO                                    BUDIN, REISMAN, KUPFERBERG & BERNSTEIN LL
                                                                                         112 MADISON AVE, 2FL
                                                                                         NEW YORK, NY 10016
                                                                           Defendant


                                         AFFIDAVIT OF SERVICE BY THE NEW YORK SECRETARY OF STATE

 STATE OF NEW YORK, COUNTY OF SARATOGA                   SS:

 I, Harold Johnson, being duly sworn deposes and says deponent is over the age of twenty-one (21) years;
 deponent is not a party to this action and resides in the State of New York.

 That on 10/29/2021 at 11:10 AM at the office of the Secretary of State of the State of New York, at 99 Washington
 Avenue, Albany, NY 12231, deponent served the annexed:

                         SUMMONS & VERIFIED COMPLAINT/INDEX# & DATE FILED, on

                                           AMAZON.COM SERVICES LLC

 Defendant in this action, by personally delivering to and leaving with AMY LESCH, Agent for Service of Process in
 the Office of the Secretary of State of the State of New York, two (2) true copies thereof and that at the time of
 making such service, deponent paid said Secretary of State a fee of $40.00 dollars; that said service was made
 pursuant to:
 Section 303 DOMESTIC LIMITED LIABILITY COMPANY LAW.

 Deponent further says that deponent knew the person so served as aforesaid to be the agent in the Office of the
 Secretary of State of the State of New York, duly authorized to accept such service on behalf of said Defendant.

 A description of the person served on behalf of the Defendant is as follows:
 Approx Age: 36 - 50 Yrs., Approx Weight: 161-200 Lbs., Approx Height: 5' 9" - 6' 0", Sex: Female, Skin: White, Hair:
 Brown Other:




 Sworn to before me on 11/3/2021
 Christina M. Altieri                                                                    ______________________________
 Notary Public, State of New York
                                                                                                Harold Johnson
 No.: 01AL6023113, Qualified in Saratoga County
 Commission Expires April 12, 2023
                         Triple A Process Service: PO Box 2307, Seaford, NY 11783: (516) 826-9600




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EXHIBIT “B”
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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF BRONX
            ----------------------------------------------------------------------- x
            BADARA OUATTARA,
                                                                                        Index No.: 813543/2021E
                                                        Plaintiff,
                       -against-
                                                                                            VERIFIED ANSWER
            AMAZON.COM, INC. and AMAZON.COM SERVICES,
            LLC,

                                                         Defendants.
            ----------------------------------------------------------------------- x

                    Defendants, AMAZON.COM, INC. and AMAZON.COM SERVICES, LLC, by

            and through their attorneys WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER

            LLP, as and for its Verified Answer to the plaintiff’ Complaint, allege upon information

            and belief as follows:

                1. Denies any knowledge or information thereof sufficient to form a belief as to the

            allegation set forth in paragraph designated “1” of the Complaint.

                2. Denies each and every allegation set forth in paragraph designated “2” of the

            Complaint.

                3. Denies each and every allegation set forth in paragraph designated “3” of the

            Complaint.

                4. Denies each and every allegation set forth in paragraph designated “4” of the

            Complaint.

                5. Denies each and every allegation set forth in paragraph designated “5” of the

            Complaint.

                6. Denies each and every allegation set forth in paragraph designated “6” of the

            Complaint.


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                7. Denies each and every allegation set forth in paragraph designated “7” of the

            Complaint but Admit that AMAZON.COM, INC., was a foreign corporation on

            December 7, 2019.

                8. Denies each and every allegation set forth in paragraph designated “8” of the

            Complaint.

                9. Denies each and every allegation set forth in paragraph designated “9” of the

            Complaint.

                10. Denies each and every allegation set forth in paragraph designated “10” of the

            Complaint but Admit that AMAZON.COM SERVICES, LLC was a foreign limited

            liability company on December 7, 2019.

                11. Denies each and every allegation set forth in paragraph designated “11” of the

            Complaint.

                12. Denies each and every allegation set forth in paragraph designated “12” of the

            Complaint.

                13. Denies each and every allegation set forth in paragraph designated “13” of the

            Complaint.

                14. Denies each and every allegation set forth in paragraph designated “14” of the

            Complaint.

                15. Denies each and every allegation set forth in paragraph designated “15” of the

            Complaint.

                16. Denies each and every allegation set forth in paragraph designated “16” of the

            Complaint.




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                17. Denies each and every allegation set forth in paragraph designated “17” of the

            Complaint.

                18. Denies each and every allegation set forth in paragraph designated “18” of the

            Complaint.

                19. Denies each and every allegation set forth in paragraph designated “19” of the

            Complaint.

                20. Denies each and every allegation set forth in paragraph designated “20” of the

            Complaint.

                21. Denies each and every allegation set forth in paragraph designated “21” of the

            Complaint.

                22. Denies each and every allegation set forth in paragraph designated “22” of the

            Complaint.

                23. Denies each and every allegation set forth in paragraph designated “23” of the

            Complaint.

                24. Denies each and every allegation set forth in paragraph designated “24” of the

            Complaint.

                25. Denies each and every allegation set forth in paragraph designated “25” of the

            Complaint.

                26. Denies each and every allegation set forth in paragraph designated “26” of the

            Complaint.

                27. Denies each and every allegation set forth in paragraph designated “27” of the

            Complaint.




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                28. Denies each and every allegation set forth in paragraph designated “28” of the

            Complaint.

                29. Denies each and every allegation set forth in paragraph designated “29” of the

            Complaint.

                30. Denies each and every allegation set forth in paragraph designated “30” of the

            Complaint.

                31. Denies each and every allegation set forth in paragraph designated “31” of the

            Complaint.

                32. Denies each and every allegation set forth in paragraph designated “32” of the

            Complaint.

                33. Denies each and every allegation set forth in paragraph designated “33” of the

            Complaint.

                34. Denies each and every allegation set forth in paragraph designated “34” of the

            Complaint.

                35. Denies each and every allegation set forth in paragraph designated “35” of the

            Complaint.

                36. Denies each and every allegation set forth in paragraph designated “36” of the

            Complaint.

                37. Denies each and every allegation set forth in paragraph designated “37” of the

            Complaint.

                38. Denies each and every allegation set forth in paragraph designated “38” of the

            Complaint.




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                39. Denies each and every allegation set forth in paragraph designated “39” of the

            Complaint.

                40. Denies each and every allegation set forth in paragraph designated “40” of the

            Complaint.

                41. Denies each and every allegation set forth in paragraph designated “41” of the

            Complaint.

                42. Denies each and every allegation set forth in paragraph designated “42” of the

            Complaint.

                43. Denies each and every allegation set forth in paragraph designated “43” of the

            Complaint.

                             AS AND FOR A FIRST AFFIRMATIVE DEFENSE

                    That any injuries sustained or suffered by the plaintiff, as stated in the Verified

            Complaint herein, were caused in whole or in part by the comparative negligence, fault

            and/or want of care of the plaintiff and the amount of damages awarded herein, if any,

            should be denied or diminished in proportion to the amount of said culpable conduct and

            negligence of plaintiff.

                            AS AND FOR A SECOND AFFIRMATIVE DEFENSE

                    Plaintiff did not sustain a serious injury as defined in § 5102 (d) of the Insurance

            Law.

                             AS AND FOR A THIRD AFFIRMATIVE DEFENSE

                    If plaintiff did sustain an economic loss in excess of “basic economic loss” as

            defined in § 5102 (a) of the Insurance Law, then plaintiff’s exclusive remedy is limited to

            the benefits and provisions of Article 51 of the Insurance Law.




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                             AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

                    That all the hazards and risks incident to the circumstances alleged in the Verified

            Complaint were obvious and apparent and were assumed by the plaintiff.

                               AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

                    Plaintiff failed to utilize appropriate and available seatbelt restraints. Such failure

            is pleaded as both a complete and partial defense as well as in mitigation of any and all

            damages.       In failing to exercise ordinary care in making use of available seatbelt

            restraints, plaintiff acted unreasonably and disregarded plaintiff’s own best interests.

                               AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

                    That the plaintiff has failed to state a cause of action upon which relief can be

            granted.

                             AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

                    If plaintiff was caused to sustain damages at the time and place set forth in the

            plaintiff’s Verified Complaint, such damages were caused by the culpable conduct of

            third-person(s) over whom the answering defendants exercised no control.


                             AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

                    The answering defendants reserve the right to claim the limitations of liability

            provided pursuant Article 16 of the CPLR.

                              AS AND FOR A NINTH AFFIRMATIVE DEFENSE

                    Plaintiff failed to mitigate, obviate, diminish or otherwise act to lessen or reduce

            the injuries, damages and disabilities alleged in the Verified Complaint.




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                             AS AND FOR A TENTH AFFIRMATIVE DEFENSE

                    The defendants were not negligent and acted reasonably and prudently based

            upon the spontaneous, unavoidable, sudden, unexpected and/or emergency circumstances

            presented.

                           AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

                    If plaintiff sustained any damages, there was an intervening cause or causes which

            led to such injuries or damages and, as such any act on the part of these defendants were

            not the proximate cause of plaintiff’s damages.

                            AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

                    That the contributory negligence of the plaintiff has barred them from relief

            against these defendants. If the accident occurred as a result of the plaintiff’s own

            provocation, improper and culpable conduct and the plaintiff is thereby guilty of

            contributory negligence as a result thereof, in whole or in part.

                           AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

                    The Verified Complaint fails to name the necessary party or parties which

            allegedly caused the alleged damages sustained by the plaintiff.

                           AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

                    Any amount awarded to plaintiff against these defendants, must be reduced by

            any collateral source pursuant to CPLR § 4545.

                           AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

                    The action is federally preempted pursuant to 49 USC § 30106 (the Graves

            Amendment).




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                            AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

                    Upon information and belief, service of the Summons and Complaint in this

            matter were not accomplished in the proper and designated manner as set forth in the

            CPLR and therefor the proper jurisdictional basis as against the defendants have not been

            effected.

                           AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE

                    Upon information and belief, this Court has not acquired in personam jurisdiction

            over answering defendants.

                WHEREFORE,          defendants,   AMAZON.COM,          INC.     and   AMAZON.COM

            SERVICES, LLC, demand judgment against the plaintiff dismissing the Complaint

            herein, together with the costs and disbursements of this action.

            Dated: White Plains, New York
                   January 25, 2022
                                                       Yours etc.,
                                   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                          By:
                                                                 John Hsu, Esq.
                                                                 Attorneys for Defendants
                                                                 AMAZON.COM, INC. and
                                                                 AMAZON.COM SERVICES, LLC,
                                                                 1133 Westchester Avenue
                                                                 White Plains, New York 10604
                                                                 (914) 323-7000
                                                                 File No.: 22080.00999
            TO:
            Budin, Reisman, Kupferberg & Bernstein, LLP
            Adam S. Bernstein, Esq.
            112 Madison Avenue
            New York, New York 10016
            (212) 696-5500
            Your File No.: #MM11469




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                                        ATTORNEY VERIFICATION


            STATE OF NEW YORK                    )
                                                 )       ss:
            COUNTY OF WESTCHESTER                )


                    JOHN HSU, being duly sworn, deposes and says:

                    That he is a partner of the law firm of WILSON, ELSER, MOSKOWITZ,

            EDELMAN & DICKER LLP, attorneys representing defendants AMAZON.COM, INC.

            and AMAZON.COM SERVICES, LLC That he has read the attached Answer to the

            Verified Complaint and the same is true to his own belief, except as to the matters alleged

            on information and belief, and as to those matters, he believes them to be true to the best

            of his knowledge;

                    That deponent’s source of information is a claims file containing reports and

            records of investigation, with which deponent is familiar.

                    That this Verification is made by deponent because his client does not reside

            within the county where the deponent maintains their office.

            Dated: White Plains, New York
                   January 25, 2022



                                                                 JOHN HSU, ESQ.




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                    -against-
                                                                                     DEMAND FOR A VERIFIED
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                    BILL OF PARTICULARS
         LLC,

                                                      Defendants.
         ----------------------------------------------------------------------- x


                 PLEASE         TAKE        NOTICE          that    defendants,      AMAZON.COM,        INC.   and

         AMAZON.COM SERVICES, LLC, by their attorneys, Wilson, Elser, Moskowitz, Edelman &

         Dicker LLP, hereby demand that plaintiff provide to said attorneys, within twenty (20) days after

         the service hereof, a Verified Bill of Particulars containing responses to the following particulars:


                 1.       Age of Plaintiff, date of birth, and place of birth.

                 2.       Maiden Name, if married.

                 3.       Present address of residence and post office address, if different.

                 4.       Address of residence at the time of the accident and post office address at the time

                          of the accident, if different.

                 5.       Date of accident.

                 6.       Time of accident.

                 7.       Address/location of where the accident occurred.

                 8.       Describe how the accident occurred, and describe the area in the roadway in

         which it is claimed that the subject accident occurred, specifying (a) where Plaintiff was in

         relation to demarkations on the roadway (using distances) before and at the time of impact; (b)


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         how or what occurred for Plaintiff to suffer her alleged injuries, including but not limited to

         whether Plaintiff’s vehicle collided with specific portions of any other vehicle; and (c) how many

         impacts were involved in the accident.

                 9.     Set forth how the subject incident occurred and state the traffic controls, if any,

         that Plaintiff will claim existed at the scene, and whether it will be claimed that the Defendants

         violated any traffic controls.

                 10.    Set forth whether Plaintiff adhered to traffic controls and, if so, how.

                 11.    Identify all witnesses who can state as accurately as possible, the date and time,

         including the hour and minute insofar as it is possible to do so, at which the incident occurred,

         and who possess facts or opinions regarding the alleged incident.

                 12.    Set forth each and every act or omission of negligence on the part of the

         Defendants which Plaintiff will claim caused or contributed to the alleged occurrence.

                 13.    Set forth Plaintiff’s injuries that were allegedly sustained as a result of, or

         exacerbated by, the alleged incident:

                        (a) State whether the alleged injuries are of a temporary or permanent nature; and

                        (b) In identifying each of Plaintiff’s alleged injuries, state the names and

                              addresses of all of the medical care providers, medical facilities, physicians,

                              and surgeons that Plaintiff received treatment from corresponding to each

                              injury.

                 14.    Was the Plaintiff a member of a union? If so, state which union.

                 15.    Does Plaintiff make a claim for lost earnings? If so, provide the following:

                        (a)      name and address of employer;




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                        (b)    the nature of Plaintiff’s employment immediately prior to the alleged

                               incident, indicating job title, classification, and position;

                        (c)    number of days incapacitated, setting forth the dates;

                        (d)    daily, weekly, or monthly earnings;

                        (e)    total amount of loss claimed;

                        (f)    the basis for the claim for lost earnings;

                        (g)    how the lost wages were calculated; and

                        (h)    Plaintiff’s income (both gross and net) for the year of the alleged accident.

                 16.    If confined to hospital:

                        (a)    length of time confined, giving dates; and

                        (b)    name and address of hospital.

                 17.    If confined to bed or home:

                        (a)    length of time confined to bed, giving dates; and

                        (b)    length of time confined to home giving dates.

                 18.    Statement of amount of money actually expended for:

                        (a)    hospital and dates of visits (identify hospital);

                        (b)    physicians and dates of visits (identify physicians);

                        (c)    nurses and dates of visits; and

                        (d)    medicines and dates obtained.

                 19.    Do you claim that any defect or defective condition of the Co-Defendant’(s)

         vehicle caused or contributed to the accident?

                        (a)    If the answer to the preceding question is in the affirmative, please state: a

                               full and complete description of any such defect or defective condition,


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                                    indicating size, shape and color; the date and time in hours and minutes

                                    when any such defect or defective condition was learned; and how said

                                    defect or defective condition affected the use or operation of the subject

                                    vehicle.

                           (b)      Identify all eyewitness or witnesses that support the claim that there was a

                                    defect or defective condition which caused or contributed to the Plaintiff’s

                                    alleged injuries.

                 20.       Set forth the basis for Plaintiff’s claim that he or she sustained “serious injuries”

         as defined in Section 5102(d) of the Insurance Law of the State of New York.

                        (a) In so doing, include the subsections of the Insurance Law of the State of New

                                 York which the injuries fall under; and

                        (b) Identify all witnesses with knowledge to support the claim that Plaintiff sustained

                                 “serious injuries” as defined in Section 5102(d) of the Insurance Law of the

                                 State of New York.

                 21.       Does Plaintiff claim that he or she sustained special damages or economic loss as

         a result of this accident? If so, set forth the basis for Plaintiff’s claim for special damages or

         economic loss.

                 22.       Provide a detailed statement as to all acts of negligence, carelessness, or

         recklessness claimed to have been committed by the Defendant(s) herein, including but not

         limited to any violations of any statute, regulation, or ordinance of the State of New York or the

         United States, or both, pertaining to vehicular traffic on the public highways. In so doing,

         identify all laws, rules, regulations, or ordinances that are claimed to be either applicable to the

         accident or to have been violated by the Defendant(s).


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                 23.     State the basis of the claim that the accident occurred solely as a result of the

         negligence and carelessness of the Defendant(s), without any fault or negligence on the part of

         (a) Plaintiff, and (b) co-defendant or (c) other third-persons not a party to the subject action,

         contributing thereto.

                 24.     Identify all persons who inspected, photographed, or tested any part or portion of

         each of the following: (a) the Co-Defendant’(s) vehicle, (b) the location of the accident, and (c)

         Plaintiff’s alleged injuries.

                 25.     Please state any activities or services performed by Plaintiff prior to the incident,

         for the loss of which compensation is being claimed, including the number of hours per week

         which Plaintiff devoted to the activity or service, and the cost, if any, of hiring an employee to

         perform the service or activity subsequent to the occurrence.

                 26.     If tax returns, either State or Federal, were filed by or on behalf of Plaintiff for the

         year of Plaintiff’s incident, or for either of all of the three years immediately preceding Plaintiff’s

         accident, please state the gross income reported in each such year, and whether the said returns

         were individual or joint, and the State in which the returns were filed.

                 27.     If Plaintiff was a student, give the name and address of the school attended at or

         about the time of the incident, and accurately state the length of time incapacitated from

         attending said school.

                 28.     Set forth all statements made by Plaintiff in writing with respect to the

         occurrence.

                 29.     Identify all individuals who provided information used in drafting Plaintiff’s

         responses to this Demand for a Verified Bill of Particulars.




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                 PLEASE TAKE FURTHER NOTICE that failure to comply with this demand will serve

         as a basis for a motion to preclude Plaintiff from offering into evidence any of the particulars

         demanded herein.

         Dated: White Plains, New York
                January 25, 2022
                                                   Yours etc.,
                               WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                     By:
                                                            John Hsu, Esq.
                                                            Attorneys for Defendants
                                                            AMAZON.COM, INC. and
                                                            AMAZON.COM SERVICES, LLC,
                                                            1133 Westchester Avenue
                                                            White Plains, New York 10604
                                                            (914) 323-7000
                                                            File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                    -against-
                                                                                         NOTICE TO TAKE
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                       DEPOSITION UPON
         LLC,                                                                           ORAL EXAMINATION

                                                      Defendants.
         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE, that pursuant to Article 31 of the Civil Practice Law and Rules

         the testimony, upon oral examination of the plaintiff(s) will be taken before a Notary Public who is

         not an attorney, or employee of an attorney, for any party or prospective party herein and is not a

         person who would be disqualified to act as a juror because of interest or because of consanguinity or

         affinity to any party herein, at the office of WILSON, ELSER, MOSKOWITZ, EDELMAN &

         DICKER LLP, located at 1133 Westchester Avenue, White Plains, New York 10604, on March 16,

         2022 with respect to evidence and material necessary in the defense of this action.

                 The said person to be examined is required to produce at such examination any and all

         documents relative to the claims in the plaintiff’s Complaint.

         Dated: White Plains, New York
                January 25, 2022




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                                                 Yours etc.,
                             WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                 By:
                                                        John Hsu, Esq.
                                                        Attorneys for Defendants
                                                        AMAZON.COM, INC. and
                                                        AMAZON.COM SERVICES, LLC,
                                                        1133 Westchester Avenue
                                                        White Plains, New York 10604
                                                        (914) 323-7000
                                                        File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                      -against-
                                                                                      DEMAND FOR MEDICAL
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                       RECORDS AND
         LLC,                                                                           AUTHORIZATIONS

                                                      Defendants.
         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE that defendants, by their attorneys, WILSON, ELSER,

         MOSKOWITZ, EDELMAN & DICKER LLP, hereby demand, pursuant to Article 31 of the CPLR

         and the Uniform Rules of the Court, that each plaintiff provide to said attorneys at 1133 Westchester

         Avenue, White Plains, New York 10604, within thirty (30) days from the date of service hereof, the

         following:

                 1.        The name(s) and address(es) of all physicians or other health-care providers of every

         description who have consulted, examined or treated each plaintiff for each of the conditions

         allegedly caused by, or exacerbated by, the occurrence described in the complaint, including the

         date(s) of such consultation(s), examination(s) or treatment(s);


                 2.        Duly executed and acknowledged written authorizations directed to
                           any hospital, clinic or health care facility, including, but not limited
                           to, Emergency Medical Service (EMS) or any ambulance service, in
                           which each injured plaintiff herein was or continues to be treated or
                           confined due to the occurrence set forth in the complaint so as to
                           permit the securing of a copy of the entire hospital record or records
                           including x-rays and technicians’ reports;

                 3.        Duly executed and acknowledged written authorizations to allow
                           defendant(s) to obtain the complete office medical records, relating


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                        to each plaintiff, of each physician or health care provider identified
                        in response to “1” above;

                 4.     Copies of all medical reports, records, narrative records and
                        statements received from physicians or health care providers
                        identified in response to “1” above. These shall include a detailed
                        recital of the injuries and conditions as to which testimony will be
                        offered at the trial of this action, referring to and identifying those x-
                        rays and technicians’ reports which will be offered at the trial of this
                        action;

                 5.     Duly executed and acknowledged written authorizations to allow
                        defendants to obtain complete pharmacy and/or surgical supply
                        records with respect to any drugs, surgical supplies and/or prostheses
                        prescribed for each plaintiff from one (1) year prior to the occurrence
                        described in the complaint to the present date;

                 6.     Within the time period of the date of the occurrence to the present,
                        true and accurate copies of all bills, invoices and statements for
                        medical treatment of every description, or any bills, invoices and
                        statements incidental to medical treatment of every description,
                        including, but not limited to, bills, invoices and statements for drugs,
                        medication or pharmaceuticals of every description, relating to the
                        injuries (to each plaintiff) allegedly caused or exacerbated by the
                        occurrence described in the complaint;

                 7.     If it is claimed that the occurrence alleged in the complaint
                        exacerbated and/or aggravated any physical or mental condition of
                        any plaintiff herein, set forth specifically each and every physical or
                        mental condition it is claimed was exacerbated and/or aggravated
                        and set forth the name(s) and address(es) of each and every physician
                        or other health-care provider of every description who has consulted,
                        examined and/or treated each plaintiff with relation to the physical or
                        mental condition which was allegedly exacerbated and/or aggravated
                        by the occurrence alleged in the complaint;

                 8.     Duly executed and acknowledged written authorizations directed to
                        any hospital, clinic or health care facility, including, but not limited
                        to, Emergency Medical Service (EMS) or any ambulance service, in
                        which each injured plaintiff herein was treated, examined and/or
                        confined prior to the date of the occurrence alleged in the complaint
                        with relation to any physical or mental condition of each plaintiff that
                        was allegedly exacerbated and/or aggravated by the occurrence
                        alleged in the complaint;




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                 9.     Duly executed and acknowledged written authorizations to allow
                        defendant(s) to obtain the complete office medical records, relating
                        to each plaintiff, of each physician or health care provider identified
                        in response to “7” above;

                 10.    Copies of all medical reports, records, narrative records and
                        statements received from physicians or health care providers
                        identified in response to “7” above. These shall include a detailed
                        recital of the injuries and conditions as to which testimony will be
                        offered at the trial of this action, referring to and identifying those x-
                        rays and technicians’ reports which will be offered at the trial of this
                        action;

                 11.    In the case of death, duly executed and acknowledged written
                        authorizations to allow defendant(s) to obtain the complete Medical
                        Examiner’s records and reports, including the autopsy report, with
                        respect to the decedent.]

                 PLEASE TAKE FURTHER NOTICE that upon your failure to comply with the above

         demands, defendants will move this court, at or before the trial of this action, to preclude each

         plaintiff from: offering any evidence of the conditions described in the reports or records demanded;

         offering in evidence any part of the hospital records, medical reports and records, x-ray reports or

         reports of other technicians not made available pursuant to applicable rules; and offering any

         testimony of any physicians whose medical reports have not been served pursuant to the above

         demands.


                 PLEASE TAKE FURTHER NOTICE that the above demand are continuing demands and

         all responsive information that subsequently is made known or becomes available shall be furnished

         to the undersigned in a timely fashion.

         Dated: White Plains, New York
                January 25, 2022




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                                                 Yours etc.,
                             WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                 By:
                                                       John Hsu, Esq.
                                                       Attorneys for Defendants
                                                       AMAZON.COM, INC. and
                                                       AMAZON.COM SERVICES, LLC,
                                                       1133 Westchester Avenue
                                                       White Plains, New York 10604
                                                       (914) 323-7000
                                                       File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                    -against-
                                                                                        DEMAND FOR NAMES
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                       AND ADDRESSES OF
         LLC,                                                                             ALL WITNESSES

                                                      Defendants.
         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE that the defendants, by their attorneys, WILSON, ELSER,

         MOSKOWITZ, EDELMAN & DICKER LLP, hereby demand, pursuant to CPLR Section 3101(a),

         that each plaintiff provide to said attorneys at 1133 Westchester Avenue, White Plains, New York

         10604, in writing and under oath, within thirty (30) days of the service of this demand, the name(s)

         and address(es) of each person known and/or claimed by each plaintiff to be a witness to any of the

         following:

                 (a)      The occurrence alleged in the complaint;

                 (b)      Any acts, omissions or conditions which allegedly caused the
                          occurrence alleged in the complaint;

                 (c)      Any actual notice allegedly given to defendants or their agents,
                          servants or employees, of any condition(s) which allegedly caused
                          the occurrence alleged in the complaint;

                 (d)      The nature and duration of any alleged condition which allegedly
                          caused the occurrence alleged in the complaint;

                 (e)      Any repairs, at any time, made to the alleged location/condition
                          which allegedly caused the occurrence alleged in the complaint;

                 (f)      The alleged injuries, losses, dificiencies, and/or damages.



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                 PLEASE TAKE FURTHER NOTICE that if no such witness(es) is/are known or claimed
         to/by the party/parties you represent, so state in a sworn reply to the above demands.

                 PLEASE TAKE FURTHER NOTICE that the undersigned will object upon trial of this
         action to the testimony of any witness(es) not identified in response to the above demands.

                 PLEASE TAKE FURTHER NOTICE that the above demands are continuing demands, and
         all responsive information that subsequently is made known or becomes available shall be furnished
         to the undersigned in a timely fashion.
         Dated: White Plains, New York
                January 25, 2022
                                                    Yours etc.,
                                WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                        By:
                                                                John Hsu, Esq.
                                                                Attorneys for Defendants
                                                                AMAZON.COM, INC. and
                                                                AMAZON.COM SERVICES, LLC,
                                                                1133 Westchester Avenue
                                                                White Plains, New York 10604
                                                                (914) 323-7000
                                                                File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,                                                          Index No.: 813543/2021E

                                                     Plaintiff,
                    -against-                                                         NOTICE TO PRODUCE
                                                                                     STATEMENT OF PARTY
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                    PURSUANT TO CPLR
         LLC,                                                                           §§ 3101(e) and 3120

                                                      Defendants.
         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE that the defendants, by their attorneys, WILSON, ELSER,

         MOSKOWITZ, EDELMAN & DICKER LLP, hereby demand, pursuant to CPLR Sections 3101(e)

         and 3120, that the said attorneys be provided at 1133 Westchester Avenue, White Plains, New York

         10604, with true and accurate copies of all statements, signed or unsigned, recorded on tape

         electronically or otherwise, made by plaintiff, or their agents, servants and/or employees, taken by,

         or on behalf of, or in the possession of, any of the other parties to this action or their respective

         attorneys.

                 PLEASE TAKE FURTHER NOTICE that if there are no such statements, please so state in

         a sworn reply to this demand.

                 PLEASE TAKE FURTHER NOTICE that default in complying with this demand within

         thirty (30) days of the date of service hereof will serve as a basis for objection by the undersigned

         attorneys to the use of any such statement upon the trial of this action.

                 PLEASE TAKE FURTHER NOTICE that the above demands are continuing demands and

         all responsive information that is made known or becomes available after service of the above

         demands shall be furnished to the undersigned in a timely fashion.


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         Dated: White Plains, New York
                January 25, 2022
                                                 Yours etc.,
                             WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                 By:
                                                       John Hsu, Esq.
                                                       Attorneys for Defendants
                                                       AMAZON.COM, INC. and
                                                       AMAZON.COM SERVICES, LLC,
                                                       1133 Westchester Avenue
                                                       White Plains, New York 10604
                                                       (914) 323-7000
                                                       File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                    -against-
                                                                                      NOTICE FOR DISCOVERY
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                       AND INSPECTION
         LLC,

                                                      Defendants.
         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE that the defendants, by their attorneys, WILSON, ELSER,

         MOSKOWITZ, EDELMAN & DICKER LLP, hereby demand, pursuant to Article 31 of the CPLR

         and pertinent case law, that each plaintiff provide to said attorneys at 1133 Westchester Avenue,

         Whie Plains, New York 10604 within thirty (30) days of the date of this Notice, the following:

                 l.     True and accurate copies of any reports or other writings prepared by or made to the
         police or any other governmental officers or agencies in connection with the occurrence alleged in
         the complaint;

                 2.      All photographs of the scene of the incident/occurrence alleged in the complaint, as
         said scene existed at the time of the incident/occurrence alleged in the complaint;

                 3.     All photographs of the plaintiff, depicting the injuries allegedly sustained as a result
         of the occurrence alleged in the complaint;

                 4.     If this action involves a loss of service or service claim, a true and accurate copy of
         the following:

                          (a)    With regard to any spouse who is a party to his action, the marriage
         certificate and any divorce or separation decree(s); and,

                          (b)      With regard to any infant that is involved in this action, the infant’s birth
         certificate;

                 5.       Copies of all claims and pleadings served upon any other person or entity, including
         the parties to this action, in any other action or proceeding commenced by the plaintiff and arising
         out of the same facts or occurrence in which the injuries or damages as alleged herein are in issue.
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                 PLEASE TAKE FURTHER NOTICE that this Notice is a continuing demand and all

         responsive information that subsequently is made known or becomes available shall be furnished to

         the undersigned in a timely fashion.


                 PLEASE TAKE FURTHER NOTICE that failure to comply with this Notice will serve as a

         basis for a motion, at the time of trial or prior thereto, for the appropriate relief pursuant to the

         CPLR.

         Dated: White Plains, New York
                January 25, 2022
                                                    Yours etc.,
                                WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                       By:
                                                               John Hsu, Esq.
                                                               Attorneys for Defendants
                                                               AMAZON.COM, INC. and
                                                               AMAZON.COM SERVICES, LLC,
                                                               1133 Westchester Avenue
                                                               White Plains, New York 10604
                                                               (914) 323-7000
                                                               File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,                                                          Index No.: 813543/2021E

                                                     Plaintiff,
                    -against-                                                             NOTICE FOR
                                                                                       PRESERVATION OF
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                     SOCIAL MEDIA and
         LLC,                                                                            REQUEST FOR
                                                                                     DOCUMENTS/DOWNLOAD
                                                     Defendants.

         ----------------------------------------------------------------------- x

                 PLEASE TAKE NOTICE that the defendants, by their attorneys, WILSON, ELSER,

         MOSKOWITZ, EDELMAN & DICKER LLP, hereby demand, pursuant to Article 31 of the CPLR

         and pertinent case law, that each plaintiff provide to said attorneys at 1133 Westchester Avenue,

         Whie Plains, New York 10604 within thirty (30) days of the date of this Notice, the following:

                 1.       An affidavit from plaintiff concerning his/her/their social media activity which

         must include the following information: a) the name of each and every platform where he/she

         maintains, controls, or has registered an account; b) his/her/their first and last name on each

         account; c) the account username; and, d) the corresponding URL. This includes but is not

         limited to information from his/her/their accounts on Facebook, Instagram, and LinkedIn.

                 2.       A true and accurate copy of the entire downloaded contents of plaintiff’s social

         media accounts encompassing all of plaintiff’s activity on each such platform including but not

         limited to messages, likes, postings, tags, links, videos, photos and notes.

                 3.       Any and all social media photos, videos and/or posts pertaining to the subject

         accident itself, any prior injuries or traumatic events, plaintiff’s alleged injuries resulting from

         the subject accident, or his/her /their medical treatment thereafter.


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                 4.     Any and all social media photos, videos and/or posts bearing on plaintiff’s post-

         accident condition and recovery, including but not limited those materials showing his/her/their

         ability to perform physical activities and/or socialize with friends.

                 PLEASE TAKE FURTHER NOTICE that the forgoing constitutes a demand for the

         preservation of all content from the applicable Internet, web, or mobile based employment

         related and/or social networking platforms. Plaintiff must discontinue any alteration,

         modification, or deletion of the corresponding information and materials, and must also refrain

         from causing a third-party (family, friends, etc.) to perform any such activity.

                 PLEASE TAKE FURTHER NOTICE that, in the event that such materials are

         destroyed, altered and/or otherwise made unavailable, defendant reserves the right to move for

         any and all available relief based on the spoliation of evidence in this matter.

                 PLEASE TAKE FURTHER NOTICE that this demand shall be deemed to continue

         during the pendency of this litigation. Furthermore, in the event of plaintiffs’ failure to timely

         comply with this demand, a motion will be made either to dismiss this action and/or to preclude

         the plaintiffs at trial from testifying to or offering any evidence pertaining to the information and

         materials demanded herein.

         Dated: White Plains, New York
                January 25, 2022




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                                                 Yours etc.,
                             WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                 By:
                                                       John Hsu, Esq.
                                                       Attorneys for Defendants
                                                       AMAZON.COM, INC. and
                                                       AMAZON.COM SERVICES, LLC,
                                                       1133 Westchester Avenue
                                                       White Plains, New York 10604
                                                       (914) 323-7000
                                                       File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                    -against-
                                                                                          DEMAND FOR
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                      ACCIDENT REPORTS
         LLC,
                                                      Defendants.
         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE that the defendants, by their attorneys, WILSON, ELSER,

         MOSKOWITZ, EDELMAN & DICKER                               LLP, hereby demand, pursuant to CPLR

         Sections 3101(g), that each plaintiff provide to said attorneys at 1133 Westchester Avenue, White

         Plains, New York 10604, within thirty (30) days after the date of service hereof, the following:

                 (A)      True and accurate copies of any written report(s) of the occurrence alleged in

                          the complaint.

                 PLEASE TAKE FURTHER NOTICE that failure to comply with the foregoing demand

         will serve as the basis for a motion for the appropriate relief pursuant to the CPLR.

         Dated: White Plains, New York
                January 25, 2022
                                                       Yours etc.,
                                   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                             By:
                                                                      John Hsu, Esq.
                                                                      Attorneys for Defendants
                                                                      AMAZON.COM, INC. and
                                                                      AMAZON.COM SERVICES, LLC,
                                                                      1133 Westchester Avenue
                                                                      White Plains, New York 10604
                                                                      (914) 323-7000
                                                                      File No.: 22080.00999
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         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,                                                          Index No.: 813543/2021E

                                                     Plaintiff,
                      -against-                                                      DEMAND FOR INCOME
                                                                                      INFORMATION AND
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                   AUTHORIZATIONS OF
         LLC,                                                                            IRS RECORDS

                                                      Defendants.
         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE that the defendants, by their attorneys, WILSON, ELSER,

         MOSKOWITZ, EDELMAN & DICKER LLP, hereby demand, pursuant to CPLR Sections 3120,

         that each plaintiff provide to said attorneys at 1133 Westchester Avenue, White Plains, New York

         10604, within thirty (30) days after the date of service hereof, the following:

                 1.        True and accurate copies of documentation reflecting income earned by plaintiff for
                           three (3) years prior, the year of and one (1) year subsequent to the occurrence
                           alleged in the complaint, including, but not limited to, W-2 Forms, 1099 Forms, and
                           any other indicia of income earned;

                 2.        True and accurate copies of Federal, State and City Income tax returns for plaintiff
                           for three (3) years prior, the year of and one (1) year subsequent to the occurrence
                           alleged in the complaint;

                 3.        Duly executed and acknowledged written authorizations required to permit
                           defendants to obtain Internal Revenue Service records, documents and returns
                           relative to plaintiff for the years specified on the authorization form to be provided to
                           plaintiff by defendants.


                 PLEASE TAKE FURTHER NOTICE that your failure to comply with the foregoing

         demand will serve as the basis of a motion seeking, in whole or in part, an order precluding each

         plaintiff’s from introducing into evidence and for otherwise using the above demanded items for

         any purpose whatsoever upon the trial of this action.

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         Dated: White Plains, New York
                January 25, 2022
                                                 Yours etc.,
                             WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                 By:
                                                       John Hsu, Esq.
                                                       Attorneys for Defendants
                                                       AMAZON.COM, INC. and
                                                       AMAZON.COM SERVICES, LLC,
                                                       1133 Westchester Avenue
                                                       White Plains, New York 10604
                                                       (914) 323-7000
                                                       File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,                                                          Index No.: 813543/2021E

                                                     Plaintiff,
                      -against-                                                      DEMAND FOR WORKERS’
                                                                                        COMPENSATION,
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                     NO-FAULT AND/OR
         LLC,                                                                             DISABILITY
                                                                                        CLAIM RECORDS
                                                     Defendants.

         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE that the defendants, by their attorneys, WILSON, ELSER,

         MOSKOWITZ, EDELMAN & DICKER LLP, hereby demand, pursuant to CPLR Sections 3101

         and 3120, that each plaintiff provide to said attorneys at 1133 Westchester Avenue, White Plains,

         New York 10604, within thirty (30) days after the date of service hereof, the following:

                 1.        Duly executed and acknowledged written authorizations required to permit
                           defendants to obtain plaintiff’s Workers’ Compensation, No-Fault and/or Disability
                           records which pertain to the occurrence alleged in the complaint and the injuries,
                           damages and/or losses alleged in the complaint.

                 2.        With respect to any insurance company which provides or will provide to plaintiff
                           benefits for any disability relative to the occurrence alleged in the complaint, duly
                           executed and acknowledged written authorizations required to permit defendants to
                           obtain the file, relative to plaintiff with regard to said benefits, maintained by said
                           insurance companies. This demand includes, without limitation, reference to those
                           benefits provided under Medicare, Medicaid or similar programs.                    Said
                           authorizations should include, without limitation, the pertinent file/claim number
                           maintained by said insurance companies.

                 PLEASE TAKE FURTHER NOTICE that your failure to comply with the above demands

         will serve as the basis of a motion seeking, in whole or in part, an order precluding plaintiffs upon




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         the trial of this action from offering evidence as to any benefits applied for by plaintiff(s) or

         received by plaintiffs, whether such evidence consists of written or of oral treatment.


         Dated: White Plains, New York
                January 25, 2022
                                                    Yours etc.,
                                WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                        By:
                                                                John Hsu, Esq.
                                                                Attorneys for Defendants
                                                                AMAZON.COM, INC. and
                                                                AMAZON.COM SERVICES, LLC,
                                                                1133 Westchester Avenue
                                                                White Plains, New York 10604
                                                                (914) 323-7000
                                                                File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                      -against-
                                                                                          DEMAND FOR
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                    EMPLOYMENT RECORDS
         LLC,                                                                           AUTHORIZATIONS

                                                      Defendants.
         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE that the defendants, by their attorneys, WILSON, ELSER,

         MOSKOWITZ, EDELMAN & DICKER LLP, hereby demand, pursuant to CPLR Sections 3101

         and 3120, that each plaintiff provide to said attorneys at 1133 Westchester Avenue, White Plains,

         New York 10604, within thirty (30) days after the date of service hereof, the following:

                 l.        Duly executed and acknowledged written authorizations required to permit

                           defendants to obtain and make copies of all employment records of plaintiff for three

                           (3) years prior to the occurrence alleged in the complaint, the year of the occurrence

                           alleged in the complaint and up to the present date.

                 PLEASE TAKE FURTHER NOTICE that your failure to comply with the demand will

         serve as the basis of a motion seeking an order, in whole or in part, precluding plaintiffs in the

         trial of this action from offering evidence as to lost wages and/or income as a result of the

         occurrence alleged in the complaint.

         Dated: White Plains, New York
                January 25, 2022




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                                                 Yours etc.,
                             WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                 By:
                                                       John Hsu, Esq.
                                                       Attorneys for Defendants
                                                       AMAZON.COM, INC. and
                                                       AMAZON.COM SERVICES, LLC,
                                                       1133 Westchester Avenue
                                                       White Plains, New York 10604
                                                       (914) 323-7000
                                                       File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                    -against-
                                                                                         DEMAND PURSUANT
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                       TO CPLR SECTIONS
         LLC,                                                                            3101, 3120 and 4545

                                                      Defendants.
         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE that the defendants, by their attorneys, WILSON, ELSER,

         MOSKOWITZ, EDELMAN & DICKER LLP, hereby demand, pursuant to CPLR

         Sections 3101, 3120 and 4545, that each plaintiff provide to said attorneys at 1133 Westchester

         Avenue, White Plains, New York 10604, within thirty (30) days after the date of service hereof,

         the following:

                 1. A verified statement as to whether all or any part of the past or future cost or expense of
                    medical care, dental care, custodial care, rehabilitation services, loss of earnings, or
                    other economic loss sought to be recovered in this action was or will, with reasonable
                    certainty be replaced or indemnified, in whole or in part, from any collateral source such
                    as, but not limited to, insurance (except life insurance), social security (except those
                    benefits provided under Title XVIII of the social security act), workers’ compensation,
                    or employee benefit programs (except such collateral sources entitled by law to liens
                    against any recovery of the plaintiff), and, if so, the full name and address of each
                    organization or program providing such replacement or indemnification, together with
                    an itemized statement of the amount in which each such claimed item of economic loss
                    was or will, with reasonable certainty, be replaced or indemnified by each such
                    organization or program.

                 2. Duly executed and acknowledged written authorizations required to permit defendants to
                    obtain all records reflecting any collateral source(s) or payment(s), past or future,
                    identified in response to the foregoing demand.

                 PLEASE TAKE FURTHER NOTICE that your failure to comply with the demand will

         serve as the basis for a motion for the appropriate relief pursuant to the CPLR.
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         Dated: White Plains, New York
                January 25, 2022
                                                 Yours etc.,
                             WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                 By:
                                                       John Hsu, Esq.
                                                       Attorneys for Defendants
                                                       AMAZON.COM, INC. and
                                                       AMAZON.COM SERVICES, LLC,
                                                       1133 Westchester Avenue
                                                       White Plains, New York 10604
                                                       (914) 323-7000
                                                       File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                    -against-
                                                                                          DEMAND FOR
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                       PRODUCTION OF
         LLC,                                                                        DOCUMENTS WHICH WILL
                                                                                      BE USED TO ESTABLISH
                                                     Defendants.                      ECONOMIC LOSS, ETC.


         ----------------------------------------------------------------------- x


                 PLEASE TAKE NOTICE, that pursuant to CPLR § 3120 each plaintiff is required to

         serve upon the undersigned, within twenty (20) days of the service of this Demand, the

         following:

                 1. A copy of all documents that will be introduced at trial to establish economic loss

         including, but not limited to, bills, receipts and cancelled checks, etc., reflecting special damages.

                 PLEASE TAKE FURTHER NOTICE that this Demand shall be deemed to continue

         during the pendency of this action if any of the above requested information or documents are

         subsequently obtained. Furthermore, if plaintiffs fail to timely comply with this Demand, a

         motion will be made either to dismiss this action and/or to preclude plaintiffs from offering at the

         trial of this action any evidence pertaining to or contained in the items demanded herein.

         Dated: White Plains, New York
                January 25, 2022




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                                                 Yours etc.,
                             WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                 By:
                                                       John Hsu, Esq.
                                                       Attorneys for Defendants
                                                       AMAZON.COM, INC. and
                                                       AMAZON.COM SERVICES, LLC,
                                                       1133 Westchester Avenue
                                                       White Plains, New York 10604
                                                       (914) 323-7000
                                                       File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                    -against-
                                                                                          REQUEST FOR
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                   SUPPLEMENTAL DEMAND
         LLC,                                                                        PURSUANT TO CPLR 3017(c)

                                                      Defendants.
         ----------------------------------------------------------------------- x

                 Pursuant to CPLR 3017(c), defendants AMAZON.COM, INC. and AMAZON.COM

         SERVICES, LLC, request that within fifteen (15) days of the date of this demand, each plaintiff

         serve a supplemental demand for relief setting forth the total damages to which he/she/they deem

         himself/herself/themselves entitled.

         Dated: White Plains, New York
                January 25, 2022
                                                       Yours etc.,
                                   WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                             By:
                                                                      John Hsu, Esq.
                                                                      Attorneys for Defendants
                                                                      AMAZON.COM, INC. and
                                                                      AMAZON.COM SERVICES, LLC,
                                                                      1133 Westchester Avenue
                                                                      White Plains, New York 10604
                                                                      (914) 323-7000
                                                                      File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469

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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
         ----------------------------------------------------------------------- x
         BADARA OUATTARA,
                                                                                     Index No.: 813543/2021E
                                                     Plaintiff,
                    -against-
                                                                                       DEMAND PURSUANT
         AMAZON.COM, INC. and AMAZON.COM SERVICES,                                      TO THE MEDICARE,
         LLC,                                                                          MEDICAID AND SCHIP
                                                                                         EXTENSION ACT
                                                     Defendants.


         ----------------------------------------------------------------------- x

                 PLEASE TAKE NOTICE that pursuant to CPLR §3120(a) and the requirements of

         Section 111 of the Medicare, Medicaid, and SCHIP Extension Act of 2007 (42 U.S.C.

         §§1395(y)(b)(7) and (b)(8)), the undersigned requests that each plaintiff provide the following

         information within twenty (20) days:

                  1.      State the date of birth of the plaintiff.

                  2.      State the Social Security number of the plaintiff.

                  3.      Is the plaintiff now or has he ever been Medicare and/or Medicaid eligible as

         defined under Federal legislation?

                  4.      If the plaintiff is or has ever been Medicare and/or Medicaid eligible, state the

         date he achieved this status.

                  5.      Has the plaintiff now or ever been a Medicare and/or Medicaid beneficiary?

                             a. If yes, state the date the Medicare and/or Medicaid benefits commenced.
                  6.      Has the plaintiff ever applied to the Social Security Administration seeking

         disability benefits?

                                a. If yes, state the name of the date such application was first filed.

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                 7.     Has the Social Security Administration determined the plaintiff to be entitled to

         disability benefits?

                              a. If yes, provide the date said determination was made and provide written
                                 documentation accordingly.

                 8.     Has the Social Security Administration determined that the plaintiff is not entitled

         to benefits?

                              a. If yes, provide the date said determination was made and provide written
                                 documentation accordingly.

                 9.     State the plaintiff’s Medicare Health Insurance Claim Numbers (HICNs),

         Medicaid file number, New York State Department of Social Services (DSS) file number, and/or

         Medicare Secondary Payor (MSP) file number, if applicable.

                 10.    If the plaintiff has applied for or been awarded Medicare and/or Medicaid and/or

         DSS and/or MSP benefits, provide all information/documentation related to the application

         and/or award of said benefits.

                 11.    If the plaintiff has applied for or been awarded Supplemental Security Income

         (SSI) or Social Security Disability Insurance (SSDI), provide all information/documentation

         related to the application and/or award of said benefits.

                 12.    If the plaintiff has been diagnosed with or treated for end-stage renal failure:

                        (a)       Copies of all written reports and medical records of all
                                  attending physicians and healthcare providers related to
                                  said treatment; and

                        (b)       Duly executed unrestricted authorizations enabling the
                                  defendants’ attorneys and defendants’ representatives, to
                                  inspect, examine and copy the medical reports, x-rays,
                                  films and/or diagnostic studies, notes and reports of all
                                  attending and/or examining physicians and health care
                                  providers relating to the diagnosis, etiology, treatment and
                                  prognosis of the injured plaintiff, diagnosis with or
                                  treatment for end-stage renal failure. Said defendant
                                  further demand that a copy of the attached authorization
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                                for use and disclosure of health information and/or a
                                specific authorization required by each provider be
                                executed and provided to the undersigned for use in
                                conjunction with this demand.

                 13.    If the plaintiff has been denied Medicare, Medicaid, SSI, and/or SSDI benefits,

         provide all information/documentation concerning any such denial.

                 14.    If the plaintiff has appealed or intends to appeal the denial of Medicare, Medicaid,

         SSI, and/or SSDI benefits, provide all information/documentation of any such appeal or intent to

         appeal of the denial of such benefits.

                 15.    State whether Medicare, Medicaid and/or the Social Security Administration has a

         lien on any potential award, judgment or settlement in this lawsuit and, if so, state the amount of

         such liens and provide all information/documentation relative to these liens.

                 16.    Pursuant to CPLR §3101(a), provide executed and acknowledged written

         authorizations permitting defendant’s attorneys and defendant’s representatives to obtain and

         make copies of all Medicare records, Parts A and B, specifying the correct address of said

         Medicare office, along with the plaintiff’s Social Security Number and file number. Said

         defendant(s) further demand that a signed original of the attached Authorization of Use and

         Disclosure of Health Information and/or a specific authorization required by Medicare be

         executed and provided to the undersigned for use in conjunction with this demand.

                 17.    Pursuant to CPLR §3101(a), provide duly executed and acknowledged written

         authorizations permitting defendants’ attorneys and defendants’ representatives to obtain and

         make copies of all Medicaid records, specifying the correct address of said Medicaid office,

         along with the plaintiff’s Social Security number and the file number. Said defendant(s) further

         demand that a signed original of the attached Authorization for Release of Medicaid Protected




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         Information, and/or any other specific authorization required by Medicaid be executed and

         provided for use in conjunction with this demand as it pertains to health information.

                 18.    If the plaintiff received or applied for Social Security benefits, including but not

         limited to SSI or SSDI benefits, provide a duly executed and acknowledged written authorization

         setting forth the correct Social Security file number, allowing the defendants’ attorneys and

         defendants’ representatives to obtain and make copies of all files, records, and reports of the

         Social Security Administration regarding the plaintiff. Said defendant(s) further demand that a

         signed original of the attached Social Security Administration Consent for Release of

         Information and/or any other specific authorization required by the Social Security

         Administration be executed and provided for use in conjunction with this demand as it pertains

         to health information.

                 19.    Please provide a duly executed Consent to Release to Centers for Medicare &

         Medicaid Services (CMS). (See the attached copies of authorizations).

                 PLEASE TAKE FURTHER NOTICE, that the provisions of CPLR §3122 govern this

         demand and if the party to whom the notice is directed objects to the disclosure, inspection or

         examination or withholds any documents which appear to be within the category of the

         documents required by the notice, compliance with CPLR §3122 is required.

                 PLEASE TAKE FURTHER NOTICE, that in the event of failure or refusal to comply

         with any of these demands, said defendants will apply to the Court for the appropriate relief

         including, but not limited to, an Order compelling compliance pursuant to CPLR §3124 and/or

         appropriate relief pursuant to CPLR §3126 and 22 N.Y.C.R.R. Part 130.




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                 PLEASE TAKE FURTHER NOTICE, that all demands herein shall be deemed to

         continue during the pendency of this action through and including the trial thereof and plaintiff’s

         responses must be amended or supplemented properly in compliance with CPLR §3101(h).

         Dated: White Plains, New York
                January 25, 2022
                                                   Yours etc.,
                               WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP


                                                      By:
                                                              John Hsu, Esq.
                                                              Attorneys for Defendants
                                                              AMAZON.COM, INC. and
                                                              AMAZON.COM SERVICES, LLC,
                                                              1133 Westchester Avenue
                                                              White Plains, New York 10604
                                                              (914) 323-7000
                                                              File No.: 22080.00999
         TO:
         Budin, Reisman, Kupferberg & Bernstein, LLP
         Adam S. Bernstein, Esq.
         112 Madison Avenue
         New York, New York 10016
         (212) 696-5500
         Your File No.: #MM11469




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EXHIBIT “D”
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF BRONX
                                                                             Index No.:
          BADARA OUATTARA,
                                                                             Plaintiff designates Bronx
                                                                             County as the place oftrial.
                                        Plaintiff,
                                                                             SUMMONS
                         -against-
                                                                            The basis ofvenue is:
          OTABEK TILLYAEV AND UZ FREIGHT INC.,                              Plaintiffs residence

                                                                            Plaintiff resides at:
                                        Deiendants                          845 Longfellow Avenue
                                                                   x        Apartment 4E
                                                                            County of Bronx
         To the above named Defendants

                  You are hereby summoned to ans\ir'er the complaint in this action, and to serve a
         copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
         appeamnce on the plaintiffs attomeys within (20) twenty days after the service of this summons
         exclusive of the day of service, where service is made by delivery upon you personally within the
         state, or within (30) thirty days after completion of service where service is made in any other
         manner. In case of your failure to appear or answer, judgment will be taken against you by default
         for the relief demanded in the complaint.

         Dated: New York, New York
                October 14,2020

                                                       S.    RNS
                                               BUDIN,      IS             ERBERG & BERNSTEIN, LLP
                                               Atto      for        ff
                                               Office &      . Address
                                               I l2 Madison Avenue
                                               NewYork,NY     10016
                                               (212) 696-ss00
                                               Our File # MMl1469;js
         Defendants' Addresses:

         UZ Freight Inc., 12123 S. Pine Drive, Cincirurati, OH 45241

         Otabek Tillyaev, 12137 Midpines Drive, Cincinnati, OH 45241




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          SUPREME COURT OF THE STATE OF NEW YORK
          COI]NTY OF BRONX

          BADARA OUATTARA,
                                                                                VERIFIED COMPLAINT
                                           PlaintiII,                           Index #

                          -against-


          OTABEK TILLYAEV AND UZ FREIGHT INC.,


                                           Defendants.
                                                                     x
                  Plaintiff, by his aftomeys BUDIN, REISMAN, KUPFERBERG & BERNSTEIN, LLP,                    as

         and for a cause of action alleges upon information and belief as follows:

                  1.     That this action is brought pursuant to the provisions of the New York           State

         Comprehensive Motor Vehicle Insurance Reparations Act and plaintiff has complied with all of the

         conditions thereof.

                  2.    That plaintiff sustained serious injuries as defined in $5102(d) ofthe lnsurance Law

         of the State of New York.

                  3.    That by reason of the foregoing, plaintiff is entitled to recover for non-economic

         losses as are not included   within the definition of "basic economic loss" as set forth in $5102(a) of

         the Inswance Law of the State of New York.

                  4.    That plaintiff is a "covered person" as defined in $5102(i) of the lnsurance Law     of

         the State of New York.

                  5.    That this action falls within one or more of the exceptions as set forth in CPLR

         $1602.




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                6.      Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, UZ FREIGHT INC was a domestic corporation.

                7.      Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, UZ FREIGHT INC was a foreign corporation.

                8.      Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, UZ FREIGHT INC did business in the State of New York.

                9.      Upon information and belief, that at.all of the times and places hereinafter

         mentioned, defendant, UZ FREIGHT, INC. was the owner of a certain motor vehicle bearing State

         of Ohio license plate No. TH9l2.

                10.     Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, UZ FREIGHT, INC. leased and/or rented the aforesaid motor vehicle.

                ll.     Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, UZ FREIGHT, INC. controlled the aforesaid motor vehicle.

                12.     Upon information and beliei that at all        of the times and places    hereinafter

         mentioned, defendant, UZ FREIGHT,      NC.   maintained the aforesaid motor vehicle.

                13.     Upon information and belief, that at all of the times and places hereinafter

         mentioned, defendant, OTABEK       TILLYAEV operated the aforesaid motor vehicle.

                14.     Upon information and belief, that at all      of the times and places hereinafter
         mentioned, defendant, OTABEK TILLYAEV was operating the aforesaid motor vehicle with the

         knowledge, permission and consent ofthe owner thereof.

                15.     Upon information and belief that at all of the times and places hereinafter

         mentioned, the aforesaid motor vehicle was being operated upon the business of the owner thereof.




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                    16.   Upon information and belief, that at all of the times and places hereinafter

         mentioned, the aforesaid motor vehicle was being operated upon the business of the operator

         thereof.

                    17.   Upon information and belief, that at all of the times and places hereinafter

         mentioned, the operator of the aforesaid motor vehicle was in the employ of the owner thereof.

                    18.   That at all of the times and places hereinafter mentioned, Cross Bronx Expressway

         and Jerome Avenue, Bronx, New York, in the County of             Bronx and State of New york,         were

         public roadways and thoroughfares.

                    19.   That at all of the times and places hereinafter mentioned, plaintiff was operating a

         certain motor vehicle bearing State of New York plate number T663057C.

                20.       That on or about December 7, 2019, on the intersection ofCross Bronx Expressway

         near the Jerome Avenue exit, Bronx, New York, in the County of Bronx, and State of New York,

        there was contact between the defendants' motor vehicle and plaintiffs motor vehicle.

                21.       That the said accident and the injuries and damages to the plaintiff resulting

        tlerefrom were caused solely and wholly by reason of the negligence, carelessness and recldessness

        of the defendants in the ownership, operation and control oftheir motor vehicle, in that they failed

        to have and keep the same under reasonable and proper control; in that               caused, allowed and

        permitted motor vehicle to run into and violently collide with the rear of plaintiffs motor vehicle;

        in that they failed to bring their motor vehicle under control in time to avoid the collision; in that

        they failed to have their attention before them; in that they failed to look; in that they failed to see; in

        that they operated and controlled their motor vehicle at a fast and excessive rate of speed under the

        circumstances and conditions then and there prevailing; in that they failed to provide and./or make




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         prompt and timely use of adequate and effrcient brakes and steering mechanisms; in failing to apply

         the brakes of their motor vehicle or to take other proper and appropriate evasive action in time to

         avoid running into and violently colliding with the plaintiffs motor vehicle; in operating the

         aforesaid motor vehicle     in an unreasonable and imprudent manner; in that they            operated and

         controlled their motor vehicle in reckless disregard for the safety of others, and the plaintiff in

         particular; in that they violated the statutes, ordinances, rules and regulations in the cases made and

         provided; in that they were inattentive to their duties wherein had they been attentive to their duties

         the accident and ensuing injuries could have and would have been avoided; in that they failed to act

         as a reasonable and prudent person could have and would have under the circumstances and

         conditions then and there prevailing; in that they operated and controlled their motor vehicle in such

         a   willful, wanton and grossly culpable manner    as to be   liable for damages and punitive damages; in

         that they acted in reckless disregard for the safety of others, and the plaintiff in particular; and in that

         they failed to take all necessary and proper means and precautions to avoid the said accident.

                  22.    That as a result of the negligence of the defendants, plaintiff sustained injuries to

         various parts ofhis head, body, limbs and nervous system and, upon information and belief, some          of

         his said injuries are ofa permanent and/or protracted nature; that by reason thereof, he was confined

         to hospital, bed and home and prevented from attending to his usual duties and daily activities; and

         he was required and    will be required to obtain medical aid and attention in an effort to cure and

         alleviate his said injuries, and incurred obligations therefor.




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                WHEREFORE, plaintiff demands judgrnent against the defendants                in an amount    that

         exceeds the jurisdictional   limits ofall of the lower Courts, together with interest, and the costs and

         disbursements of this action.

         Dated:    New York, New York
                   October 14,2020              Yours.


                                                          S.
                                                  BUDIN, REISMAN,                        & BERNSTEIN, LLP
                                                  Attomeys for Plaintiff
                                                  Office and
                                                  tt2                      2nd   Floor
                                                  New York, New York 10016-7416
                                                  (2t2) 696-ss00
                                                  Our File # MMl1469js




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                                                      VERIFICATION



                     The rurdersigned, being an attomey duly admitted to practice in the Courts of the State       of
         New York, affirms under the penalties of perjury:

                    That I arn one of the attomeys for the   plaintiffin the within action; that I have read and

         know the contents of the foregoing complaint, and that the same is true to my own knowledge,

         except as to t}te matters therein stated to be alleged upon information and belief, and that as to those

         matters I believe it to be true.

                    This verification is made by affirmation and not by plaintiffherein because the plaintiffis

         not presently within the county wherein affrmant maintains an oftice.

                    This verification is based on information fumished by plaintiffin this action and

         information contained in affirmant's file.

         Dated      New York, New York
                    October 14, 2020


                                                                                      TEIN




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       Exhibit E
                                                                                                                    Case 1:22-cv-01753-JLR Document 1 Filed 03/02/22 Page 92 of 102




ABS-7 (1/19)




This is to certify that this document is a true and complete copy of a record on
file in the New York State Department of Motor Vehicles, Albany, New York.         COMMISSIONER OF MOTOR VEHICLES
                                                                                                                    Case 1:22-cv-01753-JLR Document 1 Filed 03/02/22 Page 93 of 102




ABS-7 (1/19)




This is to certify that this document is a true and complete copy of a record on
file in the New York State Department of Motor Vehicles, Albany, New York.         COMMISSIONER OF MOTOR VEHICLES
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ABS-7 (1/19)




This is to certify that this document is a true and complete copy of a record on
file in the New York State Department of Motor Vehicles, Albany, New York.         COMMISSIONER OF MOTOR VEHICLES
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EXHIBIT “F”
DOC ID ----> 201904700864
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DOC ID ----> 201904700864
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 Form 532A Prescribed by:
                                                                                                 Date Electronically Filed: 2/16/2019
                                                       Toll Free: (877) SOS-FILE (877-767-3453) | Central Ohio: (614) 466-3910
                                                       www.OhioSecretaryofState.gov | Busserv@OhioSecretaryofState.gov
                                                       File online or for more information: www.OHBusinessCentral.com




                                      Initial Articles of Incorporation
                                         (For Profit, Domestic Corporation)
                                                   Filing Fee: $99
                                                           (113 - ARF)
                                                       Form Must Be Typed



   First:               Name of Corporation U. Z. Freight INC.
                                                                    (Name must include the following word or abbreviation:
                                                                     company, co., corporation, corp., incorporated, or inc.)



   Second:              Location of Principal Office in Ohio


                                                CINCINNATI                                                                           OHIO
                                                City                                                                                 State


                                                HAMILTON
                                                County



                                                                                  (The legal existence of the corporation begins upon
     Optional:          Effective Date (MM/DD/YYYY) 2/16/2019                     the filing of the articles or on a later date specified
                                                                                  that is not more than ninety days after filing.)


   Third:               The number of shares which the corporation is authorized to have outstanding.
                        (Please state if shares are common or preferred and their par value, if any.)

                        990                                    COMMON                                        0
                        Number of Shares                       Type of Shares                                Par Value of Shares



   Fourth:              If the corporation is to have an initial stated capital, please state the amount of that stated capital.


                        0
                        Amount



   ** Note: ORC Chapter 1701 allows additional provisions to be included in the Articles of Incorporation that are filed with this
      office. If including any of these additional provisions, please do so by including them in an attachment to this form. **



 Form 532A                                                     Page 1 of 3                                             Last Revised: 10/01/2017
DOC ID ----> 201904700864
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                                                Original Appointment of Statutory Agent

   The undersigned, being at least a majority of the incorporators of


     U. Z. Freight INC.
                                                                      (Name of Corporation)


     hereby appoint the following to be Statutory Agent upon whom any process, notice or demand required or permitted by
     statute to be served upon the corporation may be served. The complete address of the agent is:

          KHURSHED GAIBOV
          (Name of Statutory Agent)



          12123 S PINE DR, # 281
          (Mailing Address)



          CINCINNATI                                                                                          OH                    45241
          (Mailing City)                                                                                      (Mailing State)       (Mailing ZIP Code)



     Must be signed by
     the incorporators or         KHURSHED GAIBOV
     a majority of the            (Signature)
     incorporators.



                                  (Signature)




                                  (Signature)




                                                          Acceptance of Appointment

   The Undersigned,           KHURSHED GAIBOV                                                                                   , named herein as the
                              (Name of Statutory Agent)



   Statutory agent for        U. Z. Freight INC.
                              (Name of Corporation)


   hereby acknowledges and accepts the appointment of statutory agent for said corporation.

   Statutory Agent Signature
                                     KHURSHED GAIBOV
                                     (Individual Agent's Signature / Signature on Behalf of Business Serving as Agent)




 Form 532A                                                               Page 2 of 3                                            Last Revised: 10/01/2017
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   By signing and submitting this form to the Ohio Secretary of State, the undersigned hereby certifies that he or she
   has the requisite authority to execute this document.



   Required
                                         KHURSHED GAIBOV
   Articles and original                 Signature
   appointment of agent must
   be signed by the incorporator(s).

   If the incorporator                   By (if applicable)
   is an individual, then they
   must sign in the "signature"
   box and print his/her name
   in the "Print Name" box.
                                         Print Name
   If the incorporator
   is a business entity, not an
   individual, then please print
   the entity name in the
   "signature" box, an                   Signature
   authorized representative
   of the business entity
   must sign in the "By" box
   and print his/her name and            By (if applicable)
   title/authority in the
   "Print Name" box.


                                         Print Name




                                         Signature



                                         By (if applicable)




                                         Print Name




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EXHIBIT “G”
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Overbeck, Brittaney J.

From:                             Jeoungson Kim <jkim@mdafny.com>
Sent:                             Friday, February 4, 2022 4:05 PM
To:                               Overbeck, Brittaney J.
Cc:                               Hsu, John
Subject:                          Re: Badara Ouattara v. Otabek Tillyaev, et al



[EXTERNAL EMAIL]

Hi, I have no problem with removing

Sent from my T-Mobile 5G Device
Get Outlook for Android

From: Overbeck, Brittaney J. <Brittaney.Overbeck@wilsonelser.com>
Sent: Friday, February 4, 2022 3:36:08 PM
To: jkim@mdafny.com <jkim@mdafny.com>
Cc: Hsu, John <John.Hsu@wilsonelser.com>
Subject: RE: Badara Ouattara v. Otabek Tillyaev, et al

Hi Jeoungson,

I just wanted to follow up on my below email, as plaintiff served a BP so my 30 days to remove has started to run.

Thanks

Brittaney

Brittaney J. Overbeck
Attorney at Law
Wilson Elser Moskowitz Edelman & Dicker LLP
1133 Westchester Avenue
White Plains, NY 10604
914.872.7236 (Direct)
516.477.1092 (Cell)
914.323.7000 (Main)
914.323.7001 (Fax)
brittaney.overbeck@wilsonelser.com



From: Overbeck, Brittaney J.
Sent: Monday, January 31, 2022 11:12 AM
To: 'jkim@mdafny.com' <jkim@mdafny.com>
Cc: Hsu, John <John.Hsu@wilsonelser.com>
Subject: Badara Ouattara v. Otabek Tillyaev, et al

Good Morning Jeoungson,

I hope all is well with you. I previously called you about this matter. I wanted to follow up with you. My office
represents Amazon in the related matter. We would like to remove this case to federal court as both actions
                                                             1
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appear to be removable. Please confirm your office would consent to removal? We just received plaintiff’s BP
today, with a loss wage claim over $75,000, so our time to remove starts now.

Thanks,

Brittaney

Brittaney J. Overbeck
Attorney at Law
Wilson Elser Moskowitz Edelman & Dicker LLP
1133 Westchester Avenue
White Plains, NY 10604
914.872.7236 (Direct)
516.477.1092 (Cell)
914.323.7000 (Main)
914.323.7001 (Fax)
brittaney.overbeck@wilsonelser.com

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For further information about Wilson, Elser, Moskowitz, Edelman &
Dicker LLP, please see our website at www.wilsonelser.com or refer to
any of our offices.
Thank you.




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